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                     UNITED STATES DISTRICT COURT
                 DISTRICT OF NEW JERSEY UNITED STATES



UNITED STATES              :
                           :
v.                         :                   Crim. No. 09-343-001
                           :
CORY MELVIN                :


                       ______________________________________
                             Memorandum of Law
             In Support of Motion to Terminate Supervised Release
                     ______________________________________


        Cory Melvin has done extraordinarily well on supervised release since his
release from prison on July 14, 2017. He has worked steadily, continued and
strengthened his relationships with his children and new wife, and impressed his
Probation Officer. For these reasons, he moves for an Order terminating his
supervised release.
        I.    Background
        Mr. Melvin pleaded guilty to seven counts of a seven-count indictment on
August 19, 2009. Presentence Investigation Report (“PSR”), ¶9. He was sentenced
on April 5, 2011 to a total term of 121 months’ imprisonment, consisting of 120
months on each of counts 1, 2, 3, 4 and 5 to run concurrently with each other, and
60 months on counts 6 and 7 to run concurrently with each other and consecutively
to counts 1, 2, 3, 4, and 5 to the extent necessary to produce the total term. See
Judgment of Conviction, ECF 47. He was also sentenced to a three-year term of
supervised release on each of counts 1 through 7 to run concurrently with each
other. Id. Mr. Melvin’s offenses carried no mandatory term of supervised release.
PSR, ¶127. He pleaded guilty without a plea agreement and, therefore, without

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waiving his rights to move for early termination of supervised release. See PSR,
¶126. Mr. Melvin has served well over a year of his term of supervised release.
       II.    Early Termination of Probation is Available and Appropriate
              Given Mr. Melvin’s Progress.

       Mr. Melvin is eligible for early termination because he has completed more
than a year of his supervised release sentence, and he is an appropriate candidate
for early termination because of his progress and his circumstances. The statute
governing early termination provides:
       (e) The court may, after considering the factors set forth in section
       3553(a)(1), (a)(2)(B), (a)(2)(C), (a)(2)(D), (a)(4), (a)(5), (a)(6), and (a)(7),
       terminate a term of supervised release and discharge the defendant
       released at any time after the expiration of one year of supervised
       release, pursuant to the provisions of the Federal Rules of Criminal
       Procedure relating to the modification of probation, if it is satisfied
       that such action is warranted by the conduct of the defendant released
       and the interest of justice.

18 U.S.C. § 3583(e)(1).1 Thus, the statute directs the Court to consider, to the extent
applicable, those factors under 18 U.S.C. § 3553(a) it considered when imposing
sentence, including the nature and circumstances of the defendant’s offense, the
defendant's history and characteristics, the need to deter criminal conduct, the need
to protect the public from further crime by the defendant, and the need to provide the
defendant with rehabilitative treatment. After weighing these factors, the Court has
broad discretion to discharge the defendant from his remaining term of supervision.
       The Judicial Committee on Criminal Law has recognized early termination of
supervised release as an important tool for ensuring the most effective use of
precious human and financial resources. See Memorandum re: Cost-Containment
Strategies Related to Probation and Pre-Trial Services Offices, Committee on
Criminal Law of the Judicial Conference of the United States at 2 (Feb. 16, 2012)
(“Terminating appropriate cases before they reach their full term saves resources



1 The punitive purpose of sentencing, section 3553(a)(2)(A), is not listed as a
consideration.
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and allows officers to focus on offenders who continue to pose the greatest risk of
recidivism.”). See also Laura M. Baber and James L. Johnson, Early Termination of
Supervision: No Compromise to Community Safety, 77-SEP Fed. Probation 17, 21–
22 (2013) (reporting results of study indicating that early termination does not
compromise community safety and noting “significant” cost savings).
      Mr. Melvin realizes that early termination of supervision is not granted as a
matter of course, but subject to this Court’s discretion. As the Second Circuit
recognized, however,
      [o]ccasionally, changed circumstances - for instance, exceptionally good
      behavior by the defendant or a downward turn in the defendant’s
      ability to pay a fine or restitution imposed as conditions of release -
      will render a previously imposed term or condition of release either too
      harsh or inappropriately tailored to serve the general punishment
      goals of section 3553(a).

United States v. Lussier, 104 F.3d 32, 36 (2d Cir. 1997).
      Mr. Melvin respectfully submits that his post-offense conduct and successful
completion of well over one year of supervised release warrant this Court’s granting
his request for early termination of his supervision sentence. His overall adjustment
to supervision has been excellent. He is crime-free, incident-free, and is steadily
employed in not just one but two jobs. He has completed 21 months of his three-year
supervision term and represents no danger to the public. No need is served by
continuing his supervision. Given his progress, compliance with the terms of
supervision, terminating Mr. Melvin’s term of supervision would serve the interests
of justice by allowing the Probation Office to invest its resources in the supervision
of those who truly need it.
      III.    The § 3553(a) factors support early termination.
      The factors in 18 U.S.C. § 3553(a) guide the determination whether to
terminate supervision. Mr. Melvin was released from prison on July 14, 2017 to a
halfway house in Florida. He was transferred from the halfway house to home
confinement almost immediately. He lives with his wife in Pompano Beach, and is
supervised by the Probation Office of the Southern District of Florida. While on

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home confinement, he began working at Ocean Car Rental, where he continues to
work part-time, washing cars and taking people to and from the airport. He worked
a second job as well, at Sherwin Williams, but left that job in February 2018 for a
better-paying one at Ryder Integrated Logistics, Inc., as a commercial truck driver,
making good use of his commercial truck driver’s license.
      His schedule now is demanding. He works the night shift at Ryder, from 1
am to 2:45 pm five and sometimes six days a week, earning $21.50 per hour. From
there, he goes to his part-time job at Ocean Car Rental for two hours five times per
week, for $11 per hour. After work, he jogs two or three miles, and then rests up for
the next day. He reserves Sunday for family and Church. He catches up by phone
with his children, now 28 and 22 years old, and enjoys time with his wife, whom he
married while still in prison.
      He has complied with the conditions of supervision so well that his Probation
Officer, Dinia Jerome, has no objection to his request for early termination. Officer
Jerome reports that Mr. Melvin has been an easy charge throughout his time on
supervision, and that he is required to report only every three months. In these
circumstances, early termination would conserve valuable resources of the
probation office and the criminal justice system as a whole.
      Early termination also satisfies the relevant goals of sentencing. Mr.
Melvin’s conduct in the underlying prosecution demonstrates his willingness to take
responsibility for his actions, which was the first step on the path of rehabilitation
that he set for himself. He has not committed any other offenses, and he remains
committed to being a law-abiding citizen. Mr. Melvin has spent almost two years on
supervision, demonstrating throughout that time that he is determined to be a good
man, a good father, and a good citizen. He is an excellent candidate for early
termination of probation.
      IV.    Conclusion
      Mr. Melvin is a man with plain and straightforward desires. He wants to
work and to provide for his family, and work to be a better man and a happy person
and enjoy freedom after a lengthy prison sentence. Mr. Melvin unequivocally has

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no desire or intention of committing any further crime. Any additional period of
punishment for him beyond what he has already served would be superfluous to
afford adequate deterrence in this case, to further drive home the point that his
conduct was wrong, or to serve the public good.
      For the foregoing reasons, defendant Cory Melvin respectfully requests that
this Honorable Court terminate the remainder of his term of supervised release.


                                       Respectfully submitted,


                                       s/ Louise Arkel
                                       Assistant Federal Public Defender


August 29, 2019




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                         CERTIFICATION OF SERVICE
      I hereby certify that a copy of the instant motion and attachment was served
electronically on the U.S. Attorney’s Office on the 29th day of August, 2019.


                                        s/ Louise Arkel
                                        Assistant Federal Public Defender
